Case 3:18-ap-03043-SHB   Doc 40 Filed 03/10/22 Entered 03/10/22 15:02:21   Desc
                         Main Document    Page 1 of 4
Case 3:18-ap-03043-SHB   Doc 40 Filed 03/10/22 Entered 03/10/22 15:02:21   Desc
                         Main Document    Page 2 of 4
Case 3:18-ap-03043-SHB   Doc 40 Filed 03/10/22 Entered 03/10/22 15:02:21   Desc
                         Main Document    Page 3 of 4
Case 3:18-ap-03043-SHB   Doc 40 Filed 03/10/22 Entered 03/10/22 15:02:21   Desc
                         Main Document    Page 4 of 4
